             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                              1:07CR69-3

UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )            ORDER
                                               )
BARRON SLOAN HENDERSON.                        )
__________________________________             )

        THIS MATTER is before the undersigned magistrate judge upon the court’s

own Motion for Release of Bond. Review of court records reveals that this defendant

made all required appearances before this court and has, as well, reported to the

Bureau of Prisons facility as instructed by the United States Marshal, all in accord

with the Judgment of the district court. Based on such representations made to the

court, the court enters the following Order.

                                       ORDER

        IT IS, THEREFORE, ORDERED that the court’s own Motion for Release

of Bond is ALLOWED, the appearance bond in this matter is released and otherwise

exonerated, and the Clerk of this court is respectfully directed to return to defendant,

by way of counsel, or to the person posting the bond on behalf of such defendant, any

instrument securing such obligation. The Clerk is further instructed to mark any such

instrument as “satisfied,” or place thereon any such other endorsement as may be

required.



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                                     Signed: March 18, 2010




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